
44 So.3d 655 (2010)
Corey MABREY, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-4200.
District Court of Appeal of Florida, Fifth District.
September 24, 2010.
Corey Mabrey, Florida City, pro se.
Bill McCollum, Attorney General, Tallahassee, and Anthony J. Golden, Assistant Attorney General, Daytona Beach, for Appellee.
*656 PER CURIAM.
We affirm the trial court's order denying Corey Mabrey's motion to withdraw plea without prejudice to Mabrey to file an appropriate motion for post-conviction relief under rule 3.850, Florida Rules of Criminal Procedure.
AFFIRMED.
MONACO, C.J., SAWAYA and COHEN, JJ., concur.
